           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                         CRIMINAL NO. 1:06CR5



UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                       ORDER
                         )
                         )
DREAMA DAWN FREEMAN      )
                         )


      THIS MATTER is before the Court on motion of defense counsel for

permission to file for an interim payment of counsel fees.

      For the reasons set forth in the motion and for cause shown,

      IT IS, THEREFORE, ORDERED that counsel’s motion is ALLOWED,

and John C. Hunter is hereby permitted to file an interim fee petition in this

matter.


                                      Signed: August 24, 2006




   Case 1:06-cr-00005-MR-WCM     Document 168     Filed 08/25/06   Page 1 of 1
